                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN
______________________________________________________________________________

THE DRAGONWOOD CONSERVANCY, INC.,
PLEGUAR CORPORATION,
TERRY CULLEN,

               Plaintiffs,

v.                                                                Case No. 16-CV-00534

PAUL FELICIAN,
PHIL SIMMERT II,
JANE AND JOHN DOE(S)
CITY OF MILWAUKEE, and
ABC INSURANCE COMPANY,

            Defendants.
______________________________________________________________________________

                        STIPULATION TO EXTEND DEFENDANTS’
                            EXPERT DISCLOSURE DEADLINE


       The plaintiffs in the above-captioned matter, represented by Mark Murphy, and the

defendants, represented by Assistant City Attorney Jenny Yuan, hereby stipulate that the

scheduling order in the above-captioned case may be modified as follows:

       1.      Defendants’ expert disclosures and reports related to any property damage

claimed by plaintiffs in this case are due on July 17, 2020.

                                                      LAW OFFICE OF MARK P. MURPHY



Dated: 06/19/2020___                                  s/Mark P. Murphy___________
                                                      MARK P. MURPHY
                                                      State Bar No. 1017745
                                                      Attorney for Plaintiffs




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Dated: 06/19/2020___                          TEARMAN SPENCER
                                              City Attorney


                                              s/Jenny Yuan___________________
                                              JENNY YUAN
                                              Assistant City Attorney
                                              State Bar No. 01060098
                                              Attorneys for Defendants
                                              City of Milwaukee, Paul Felician and
                                              Phil Simmert, II

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